                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

  UNITED STATES OF AMERICA                           )
                                                     )              1:18-cr-11
  v.                                                 )
                                                     )              Judge Mattice/Steger
  JERRY WAYNE WILKERSON,                             )
  MICHAEL CHATFIELD,                                 )
  KASEY NICHOLSON,                                   )
  BILLY HINDMON, and                                 )
  JAYSON MONTGOMERY                                  )

       GOVERNMENT’S RESPONSE TO DEFENDANTS’ MOTION IN LIMINE TO
           PROHIBIT TESTIMONY REGARDING MEDICAL EFFICACY

         COMES   NOW   the United States of America by and through J. Douglas Overbey, United

  States Attorney for the Eastern District of Tennessee, and Perry H. Piper and Franklin P. Clark,

  Assistant United States Attorneys, and hereby offer this response to the defendants’ motion in

  limine seeking to prohibit testimony regarding the efficacy of the compounded drugs. (R. 163 and

  164, Motion and Memorandum in Support.) The United States opposes the motion.

                                           Background

         An essential part of the scheme to defraud in this case involved recruiting customers to

  order high-priced compounded medications through the defendants. During the investigation

  stage, agents interviewed dozens of witnesses who ordered the medications. Some of those

  witnesses testified before the Grand Jury. Almost every customer interviewed was asked about

  the efficacy of the medications. The answers ranged from “they worked,” “I couldn’t tell any

  difference,” or “they caused me problems.” When asked whether the medications were worth the

  price paid by the insurance company, no customer ever said that he or she would pay the cost out

  of pocket. A few said they did not care what the insurance company paid. Most agreed that they

  would not have paid the amount of the co-pay for the insurance if they had been required to pay




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  it. Many of the customers had no idea how much the insurance companies or Tricare were being

  billed for the creams or medications. Some of the customers were angry that their insurers had

  been charged so much, even though the customer did not suffer a financial loss.

         The defendants suggest that the “reality is that the creams and other medications were

  effective in treating patient’s conditions.” (R. 164, PageID# 785.) Also, “[a]ny assertion by the

  government that the compounded medications were not effective treatments in no way proves or

  disproves any element of any of the numerous charged crimes in this indictment.” (Id. at 786.)

  The defendants then suggest that the evidence should be excluded under Rule 403, “the probative

  value of such proffered evidence is nonexistent first and foremost because it isn’t true.” (Id.) The

  defendants argue that the government does not intend to call an expert witness regarding the

  efficacy of the creams, and suggest that any effort to do so now would be futile because of the age

  of the creams. (Id.) The defendants sum up by claiming

         The prejudicial impact of such proffered evidence substantially outweighs the
         probative value. There is no question that the allegations regarding the effectiveness
         of the medication would confuse the jury, especially given that most of the
         allegations against the defendants involve fraud, but do not involve the medication
         itself being fraudulent. The admission of such evidence would mislead the jury as
         to the motives of the defendants. Further, given that this trial is anticipated to last
         three to four weeks, the government should not be permitted to needlessly waste
         time introducing irrelevant and inadmissible evidence relating to the medical
         efficacy or necessity of the medications patients were prescribed.

  (Id. at 786-87.)

         As the government has noted elsewhere, the costs of the creams/medications generally

  ranged from $5,000 to $15,000 per bottle. The customers were never informed of the cost. In fact,

  the customers were generally told that there would be no “out-of-pocket” expense to them. The

  defendants or the pharmacies would ensure that the co-pay was covered (or waived). Finally, most

  of the customers were offered an inducement to order the creams; they were told that they would



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  be participating in a study and would receive a payment for the study. Generally, the study fee

  paid to the customers amounted to around $100. Sometimes, the study fee was paid for each

  prescription.

         The relationship between the health care practitioners and the customers was suspect. The

  consultations generally occurred over the telephone and without any in-person contact between

  the health care professional and the customer. After a cursory “tele-medicine” consultation, the

  health care professional sent the prescription to the pharmacy to be filled. After receipt of the

  prescription, the pharmacy filled the prescription, sent the bill to the insurance company, received

  reimbursement from the insurance company (or Tricare), and then sent Wilkerson his portion of

  the payment (which was generally 35 to 40% of the amount billed). In turn, Wilkerson paid his

  “downlinks”: Chatfield, Nicholson and Hindmon. Generally, Chatfield, Nicholson and Hindmon

  made 50% of the amount billed under their name and sent to Wilkerson, which represented

  approximately 17.5 to 20% of the total amount billed to the insurance company. Defendant

  Montgomery was downlinked from Hindmon. Wilkerson and Hindmon each took their share of

  what Montgomery was able to sell.

         The cost of the creams and their efficacy is relevant to the scheme to defraud. The

  information to be elicited is not unfairly prejudicial and is not a waste of time. If the defendants

  are concerned about wasting time and judicial resources, the government will prepare a summary

  chart showing the cost of the creams for each customer. Asking each customer to testify about

  whether the creams worked is not an undue burden.




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                                            ARGUMENT

  I.     Evidence of the efficacy of the compounded medications is relevant, probative, and
         admissible

         The scheme to defraud in this case involved the marketing of exorbitantly priced

  compounded medications to customers (individuals with certain types of insurance) who had no

  real medical need, had no real doctor/patient relationship, and who initially were unaware that

  they (the customers) were the conduit to a fraudulent scheme. The insurance companies and

  Tricare are the victims. The defendants created and/or participated in a scheme to defraud the

  insurers. The defendants suggest that the “probative value of such proffered evidence is

  nonexistent first and foremost because it isn’t true.” (R. 164, PageID# 786.) That statement is a

  question for the jury and weighs in favor of admissibility.

         During the investigation, customers who ordered creams were interviewed. None of the

  customers were initially aware of the cost of the medication. A few of them became aware of the

  cost because they were recruited to be marketers. Some of them claimed the creams were

  effective; others claimed they were not. A few suggested that the creams caused them difficulty.

         Regarding the testimony of the customers, it is important to consider the circumstances.

  The customers were not “seeing” a health care professional, they were talking to one over the

  phone. All maladies are in some sense subjective; pain is particularly subjective. Who better to

  offer an opinion on the efficacy of the creams than the customer? The testimony by the

  customers will be based upon their own first-hand experience, not an expert opinion. The proof

  of efficacy is relevant: these drugs were not manufactured with efficacy as the target; they were

  manufactured with re-imbursement as the ultimate goal. Evidence is “relevant” if it “has a

  tendency to make a fact more or less probable than it would be without the evidence; and the fact

  is of consequence in determining the action.” Fed. R. Evid. 401. During the investigation, many

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  customers were asked how the drugs compared to others that were available over the counter,

  such as Ben-Gay, Oil of Olay or Gold Bond. Many gave opinions on the comparative efficacy.

  If a compounded drug is just as effective, or slightly more effective, than Gold Bond, then what

  would be the point of the compounded medications? The simple answer is this: the point of

  selling a cream, which may compare to an over-the-counter product, was to make money. These

  compounded medications were formulated and sold as part of the scheme to defraud. The

  efficacy of the creams is relevant.

         The defendants misapprehend the nature of “lay testimony.” This is not “anecdotal

  evidence” in that the witnesses will be testifying as to something that happened to someone else,

  or something the witness heard “on the street.” It will be based upon the witness’s own personal

  experience. Rule 701 provides

                 If a witness is not testifying as an expert, testimony in the form of an opinion
                 is limited to one that is:
                 (a) rationally based on the witness’s perception;
                 (b) helpful to clearly understanding the witness’s testimony or to
                 determining a fact in issue; and
                 (c) not based on scientific, technical, or other specialized knowledge within
                 the scope of Rule 702.

           Lay testimony includes “results from a process of reasoning familiar in everyday life,”

  whereas “an expert’s testimony results from a process of reasoning which can be mastered only

  by specialists in the field.” United States v. White, 492 F.3d 380, 401 (6th Cir. 2007)(further

  citations omitted). The testimony concerning the efficacy of the creams would include the rational

  basis for the witness’s perception, would help the jury to understand the witness’s testimony and

  determine a fact in issue, and would not be based upon “scientific, technical, or other specialized

  knowledge.” Any witness could testify regarding the effectiveness of medication, or the side-

  effects of it. For example, a witness might opine that an aspirin “made my headache go away,” or



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  Tinactin “cured my athlete’s foot.” Such an opinion does not call for medical or other specialized

  training; such testimony does not fall within the scope of expert opinion. This type of testimony

  is permissible “lay experiential expertise ... ‘founded on personal knowledge and susceptible to

  cross-examination.’” United States v. Galatis, 849 F.3d 455, 461 (1st Cir. 2017) (citing United

  States v. Vega, 813 F.3d 386, 394 (1st Cir. 2016)). It is relevant to the charged fraud, highly

  probative of the scope and significance of the charged fraud, and should be admitted.

  II.    Efficacy evidence is not unduly prejudicial

         The probative value of the efficacy of the creams is strong. Most importantly, it shows the

  nature of the scheme and the intent to defraud that the government must prove beyond a reasonable

  doubt. If the cost of the creams were slight, the probative value would be lessened. If the efficacy

  of the creams was miraculous, and they were used to treat serious conditions, the probative value

  would be lessened. Neither is the case here. The cost was exorbitant and the benefit was slight or

  nonexistent. If the defendants believe that testimony regarding the efficacy of the creams is too

  damning, they may ask the Court for a special instruction. See, e.g., United States v. Wright, 16

  F.3d 1429, 1443 (6th Cir. 1994) and United States v. Myers, 123 F.3d 350, 363–64 (6th Cir. 1997)

  (possible prejudice to defense minimized where trial court admonished jury at trial and in final

  instruction that other acts could only be considered for narrow purpose). The probative value of

  the statements is not substantially outweighed by their prejudicial effect. United States v. Young,

  No. 4:14-CR-64, 2014 WL 2523546, at *2 (N.D. Ohio, June 4, 2014).

          In weighing the probative value of the effectiveness of the creams against the danger of

  unfair prejudicial effect, the government submits the probative value of this type of testimony

  would not be substantially outweighed by any prejudicial effect. United States v. Sims, 708 F.3d

  832, 836 (6th Cir. 2013). The evidence the government seeks to introduce is directly probative of



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  the defendants’ intent and motive. “[E]vidence that undermines one’s defense by virtue of its

  ‘legitimate probative force’ does not unfairly prejudice the defendant.” United States v. Censke,

  449 F. App’x 456, 467 (6th Cir. 2011) (quoting United States v. Schrock, 855 F.2d 327, 335 (6th

  Cir. 1988)). The effect of the evidence must not simply be prejudicial, but it must be “unfairly”

  so: “[u]nfair prejudice does not mean the damage to a defendant’s case that results from the

  legitimate probative force of the evidence; rather it refers to evidence which tends to suggest

  decision on an improper basis.” United States v. Ray, 549 F. App’x 428, 434 (6th Cir. 2013) (citing

  United States v. Bonds, 12 F.3d 540, 567 (6th Cir. 1993)).

                                             Conclusion

         For the reasons set forth above, the defendants’ motion in limine to prohibit testimony

  regarding the efficacy of the creams should be denied.

                                                               Respectfully submitted,

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